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                                                     No. 18-141C
                                                (Filed: July 13,2018)                        U.S. COUBT OF
                                                                                            FEDEFAL CLAIMS
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 JABRIL JONES.

                   Plaintiff,

                   v,

 THE UNITED STATES,

                   Defendant.

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                                           ORDER OF DISMISSAL


WILLIAMS,        Judge.

        This matter comes before the Courl on Defendant's motion to dismiss. For the rcasons
stated below, Defendant's motion to dismiss is sranted.

                                                      Backgroundr
         Plaintifforo   Jabril Jones was sentenced to 120 months in prison followed by three years
                         se
of supervised release and is still incarcerated. Jones v. united States, Nos. 16-cv-2753, 09-cr-
20389,2017 WL 5180323, at *2 (W.D. Tenn. Nov. 5,2017). On September 29,2009, a Federal
Grand Jury sitting in the Western District of Tennessee retumed a one-count indictment against
Plaintiff. compl. Ex. 4. Plaintiff was charged with knowingly possessing a firearm after having
been convicted ofa felony, in violation of ritle 18, united states code, Section 922(9). compl.
Ex. 7. Following indictment, Plaintiffs case proceeded to trial; on September 15,2010, plaintiff
was found guilty. Compl. Ex. 4.

       In his complaint, Plaintiff argues that he did not have "a complaint attached to [his] anest
warrant which would set forth the probable cause for [hisl arrest," in violation of FRCP Rules
Three and Four. compl. 4. Plaintilf also argues he "was dismissed by the Grand Jury of shelby
County Criminal Court" and has no "Bill of Indictment or an endorsed True Bill," such that count
one of his indictment is "fraud on the court" and his anest, sentencing, and imprisorunent were


       This background is derived from Plaintilfs complaint and exhibits.



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unlawful. Id. at 4-5. In Plaintiffs   responses to Defendant's motion to dismiss, he also alleges
violations of the Fourth, Fifth, Sixth and Fourleenth Amendments of the Constitution. See Pl.'s
Resp. 2-5. Plaintiff seeks $30,000,000 relief in damages and "immediate release." Compl. 5.

                                             Discussion

Subiect-Matter Jurisdiction

       Plaintilf has the burden of establishing subject-matter jurisdiction in this Court. See
Reynolds v. Armv & Air Force Exch. Serv.,846F.2d146,748 (Fed. Cir. 1988). The Court must
dismiss the action il'it hnds subj ec1-matter j urisdiction to be lacking. Adair v. United States,497
F.3d 1244, l25l (Fed. Cir.2007). The Courl assumes all lactual allegations as true, and will
construe the complaint in a manner most favorable to Plaintiff when ruling on a motion to dismiss
pursuant to Rule l2(b)(l). Pennington Seed. Inc. v. Produce Exch. No.299,457 F.3d 1334, 1338
(Fed. Cir, 2006).

        The filings of pro se litigants are held to "'less stringent standards than formal pleadings
drafted by lawyers."' Naskar v. United States, 82 Fed. Cl. 319, 320 (2008) (quoting Haines v.
Kerner, 404 U.S. 519, 520 (1972)). l{owever, p1q 59 plaintiffs still bear the burden ofestablishing
the Court's jurisdiction and must do so by a preponderance of the evidence. See Reynolds, 846
F.2d at 748; Tindle v. United States, 56 Fed. Cl. 331,34t (2003).

        The Tucker Act provides that this Courl:

        shall have jurisdiction to renderjudgment upon any claim against the United States
        founded eithcr upon the Constitution, or any Act of Congress or any regulation of
        an executive department, or upon any express or implied contract with the Unitec
        States, or for liquidated or unliquidated damages in cases not sounding in tort.

 28 U.S.C. $ 1a91(a)(1) (2012). fhe Tucker Act is not money-mandaling, but rather is a
jurisdictional statute. united states v. Testan,424u.s.392,398 (1976). To establish j urisdiction,
a plaintiff must seek money damages under a source of substantive law. "[T]he claimant must
demonstrate that the source of substantive law he relies upon 'can fairly be intelpreted as
mandating compensation by the Federal Government for the damages sustained."' United States
v. Mitchell, 463 u.s. 206,216-17 (1983) (quoting Testan,424 U.S. ar 400); see Jan's Helicoprer
Serv.. Inc. v. Fed. Aviation Admin., 525 F.3d 1299, 1306 (Fed. Cir. 2008) (,tAl plaintiff must
identify a separate source of substantive law that creates the right to money damages." (intemal
citation and quotation marks omittcd)).

         The gravamen of Plaintiffs complaint appears to be a challenge to his criminal conviction.
Compl. 4. This Court does not have jurisdiction over challenges to "indictments, arrests,
prosecutions, convictions, imprisonment, or parole . . . ," nor does this court have the authority to
review thc decisions of other fcderal courts. Joshua v. united states, 17 F.3d 379, 390 (Fed. Cir.
 1994); Schweitzer v. United States, 82 Fed. c|.592,596 (2008). This court does not have the
authority to hear Plaintiffs claims of false imprisonment and false arrest, as these actions sound
in tort. Rick's Mushroom Serv.. Inc. v. Unired States,521 F.3d 1338, 1343 (Fed. Cir.200g).

        Although this Court hasjurisdiction to hear claims ofunjust conviction, that jurisdiction is
limited and musl involve a request for compensalion. See 28 tJ.s.c. $ 1495 (2012).In order to
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succeed on a claim for compensation based on unjust conviction, a plaintiff must prove that his
conviction has been reversed or set aside upon grounds of actual innocence, that he has been found
not guilty during a new trial, or that he has been pardoned on grounds of actual innocence. 28
U.S.C. $ 2513(a)(l) (2012); see also Vincin v. United States,468F.2d930,933 (1972) ger
curiam); Brown v. United States,42 Fed,. Cl. 139, 141-42 (1998). This proof must come in the
form ofeither a court-issued certificate or a pardon. 28 U.S.C. $ 2513(b) (2012). Plaintiffhas not
made such a showing here.

        Plaintiff also alleges Constitutional and civil rights violations, citing the First and Fourth
Amendments, Article I of the Constitution, and 42 U.S.C. $ 1983. This Court lacks jurisdiction
over Plaintiff s Constitutional and civil rights claims, as neither the First nor Fourth Amendments,
nor Article I is money-mandating, andjurisdiction over civil rights violations is vested exclusively
in the district courts. LaChance v. United States, 15 Cl. Ct. 127,130 (1988); Camenter v. United
States, I l8 Fed. Cl. 712, 713 (2014); Del Rio v. Unired States, 87 Fed. Cl. 536, 540 (2009).

       Plaintiff recjuests that this Court order his release from prison. Compl. 5. This Court does
not have the authority to grant Plaintiffs release.

                                            Conclusion
       Defendant's motion to dismiss is GRANTED. The Clerk is directed to dismiss this action.
